Case 15-20691   Doc 62   Filed 05/01/19 Entered 05/01/19 13:46:43   Desc Main
                          Document     Page 1 of 18
Case 15-20691   Doc 62   Filed 05/01/19 Entered 05/01/19 13:46:43   Desc Main
                          Document     Page 2 of 18
Case 15-20691   Doc 62   Filed 05/01/19 Entered 05/01/19 13:46:43   Desc Main
                          Document     Page 3 of 18
Case 15-20691   Doc 62   Filed 05/01/19 Entered 05/01/19 13:46:43   Desc Main
                          Document     Page 4 of 18
Case 15-20691   Doc 62   Filed 05/01/19 Entered 05/01/19 13:46:43   Desc Main
                          Document     Page 5 of 18
Case 15-20691   Doc 62   Filed 05/01/19 Entered 05/01/19 13:46:43   Desc Main
                          Document     Page 6 of 18
Case 15-20691   Doc 62   Filed 05/01/19 Entered 05/01/19 13:46:43   Desc Main
                          Document     Page 7 of 18
Case 15-20691   Doc 62   Filed 05/01/19 Entered 05/01/19 13:46:43   Desc Main
                          Document     Page 8 of 18
Case 15-20691   Doc 62   Filed 05/01/19 Entered 05/01/19 13:46:43   Desc Main
                          Document     Page 9 of 18
Case 15-20691   Doc 62   Filed 05/01/19 Entered 05/01/19 13:46:43   Desc Main
                          Document     Page 10 of 18
Case 15-20691   Doc 62   Filed 05/01/19 Entered 05/01/19 13:46:43   Desc Main
                          Document     Page 11 of 18
Case 15-20691   Doc 62   Filed 05/01/19 Entered 05/01/19 13:46:43   Desc Main
                          Document     Page 12 of 18
Case 15-20691   Doc 62   Filed 05/01/19 Entered 05/01/19 13:46:43   Desc Main
                          Document     Page 13 of 18
Case 15-20691   Doc 62   Filed 05/01/19 Entered 05/01/19 13:46:43   Desc Main
                          Document     Page 14 of 18
Case 15-20691   Doc 62   Filed 05/01/19 Entered 05/01/19 13:46:43   Desc Main
                          Document     Page 15 of 18
Case 15-20691   Doc 62   Filed 05/01/19 Entered 05/01/19 13:46:43   Desc Main
                          Document     Page 16 of 18
Case 15-20691   Doc 62   Filed 05/01/19 Entered 05/01/19 13:46:43   Desc Main
                          Document     Page 17 of 18
Case 15-20691   Doc 62   Filed 05/01/19 Entered 05/01/19 13:46:43   Desc Main
                          Document     Page 18 of 18
